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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


IN RE: AQUEOUS FILM-FORMING FOAMS                             )   Master Docket No.:
PRODUCTS LIABILITY LITIGATION                                 )   2:18-mn-2873-RMG


                                                              )
CITY OF CAMDEN, et al.,                                       )   Civil Action No.:
                                                              )   2:23-cv-03230-RMG
                Plaintiffs,                                   )
                                                              )
 -vs-                                                         )
                                                              )
 E.I. DUPONT DE NEMOURS AND COMPANY (n/k/a                    )
 EIDP, Inc.), et al.,                                         )
                                                              )
                Defendants.                                   )



                    JOINT MOTION TO RECONSIDER AND AMEND
                         PRELIMINARY APPROVAL ORDER

        Proposed Class Counsel, along with The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company

(n/k/a/ EIDP, Inc.) (the “Settling Defendants,” and with Proposed Class Counsel, the “Parties”),

move to reconsider and amend the Order Granting Preliminary Approval, entered by the Court on

August 22, 2023 (ECF No. 3603). It is noted Molly H. Craig of the Hood Law Firm, LLC does

not represent DuPont de Nemours, Corteva, NOR EIDP, INC. on any claims regarding fraudulent

transfer or fraudulent conveyance. The grounds for this motion are as follows:

        1.    In Paragraph 29 of the Order Granting Preliminary Approval, the Court issued a

Stay Order and Injunction. The Stay Order and Injunction provides, among other thing, that (i) it

“shall not apply to any Person who files a timely and valid Request for Exclusion beginning as of

the date such Request for Exclusion becomes effective,” and (ii) “also shall not apply to any
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lawsuits brought by a State in any forum or jurisdiction.” The Order Granting Preliminary

Approval further provides in Paragraphs 25 and 26 that “the Notice Administrator shall prepare

and file with the Court and serve on Class Counsel and Settling Defendants’ Counsel, a list of all

Persons who have timely filed and served Requests for Exclusion” by December 6, 2023, and that

the Final Fairness Hearing shall be held on December 14, 2023.

       2.      On August 29, 2023, the Court issued a Preliminary Approval Order for Settlement

Between Public Water Systems and 3M Company (the “3M Order”) (ECF No. 3626). Article

VIII of the 3M Order includes a Stay and Injunction, which provides that “after the Final Fairness

Hearing, the stay and injunction shall not apply to any Person who has filed (and not withdrawn)

a timely and valid Request for Exclusion and that the stay and injunction shall not apply to

litigation brought by a State or the federal government.”

       3.      The Parties believe that it would be beneficial to the Court’s consideration of both

pending settlements to conform the stay and injunction provisions of the Order Granting

Preliminary Approval to such provisions of the 3M Order. Specifically, the Parties propose to

clarify that (i) after the Final Fairness Hearing, the stay and injunction shall not apply to a Person

who has filed (and not withdrawn) a timely and valid Request for Exclusion, and (ii) the stay and

injunction shall not apply to litigation brought by the federal government (in addition to litigation

brought by a State). Such an order is consistent with precedent in this Court. See In re Building

Materials Corp. of Am. Asphalt Roofing Shingle Prods. Liability Litig., 2014 WL 1261614, at *12

(D.S.C. Oct. 15, 2014) (noting that “[t]his type of injunctive relief is commonly granted in

preliminary approvals of class-action settlements pursuant to the All Writs Act and the Anti-

Injunction Act” and issuing stay of “any actions or proceedings pending in any court in the United

States . . . pending the Final Approval Hearing and the issuance of a Final Order and Judgment”).



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       4.     In addition, because the Stay Order and Injunction prohibits the filing of new cases

on the terms set forth therein, the Parties request a modification providing that any statutes of

limitations or repose for any Claims that a Releasing Person is enjoined from filing by Paragraph

29 of the Order Granting Preliminary Approval shall be tolled during the pendency of such Stay

Order and Injunction.

       5.     Attached hereto is a redline showing the proposed amendments to Paragraph 29 of

the Order Granting Preliminary Approval as set forth above. Proposed Class Counsel and the

Settling Defendants respectfully request that the Court enter an amendment to the Order Granting

Preliminary Approval incorporating the changes in the attached redline.

       Dated: September 14, 2023
                                              Respectfully submitted,
                                              /s/ Michael A. London
                                              Michael A. London
                                              Douglas and London PC
                                              59 Maiden Lane, 6th Floor
                                              New York, NY 10038
                                              212-566-7500
                                              212-566-7501 (fax)
                                              mlondon@douglasandlondon.com

                                              /s/ Paul J. Napoli
                                              Paul J. Napoli
                                              Napoli Shkolnik
                                              1302 Avenida Ponce de León
                                              San Juan, Puerto Rico 00907
                                              Tel: (833) 271-4502
                                              Fax: (646) 843-7603
                                              pnapoli@nsprlaw.com

                                              /s/ Scott Summy
                                              Scott Summy
                                              Baron & Budd, P.C.
                                              3102 Oak Lawn Avenue, Suite 1100
                                              Dallas, TX 75219
                                              214-521-3605
                                              ssummy@baronbudd.com

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                                 /s/ Elizabeth A. Fegan
                                 Elizabeth A. Fegan
                                 Fegan Scott LLC
                                 150 S. Wacker Drive, 24h Floor
                                 Chicago, IL 60606
                                 312-741-1019
                                 beth@feganscott.com


                                 /s/ Joseph F. Rice
                                 Joseph F. Rice
                                 Motley Rice 28
                                 Bridgeside Blvd.
                                 Mount Pleasant, SC 29464
                                 jrice@motleyrice.com

                                 Proposed Class Counsel


                                 /s/ Molly H. Craig
                                 Molly H. Craig (6671)
                                 HOOD LAW FIRM, LLC
                                 172 Meeting Street/Post Office Box 1508
                                 Charleston, SC 29402
                                 Phone: (843) 577-4435
                                 Facsimile: (843) 722-1630
                                 molly.craig@hoodlaw.com

                                 Counsel for The Chemours Company and The
                                 Chemours Company FC, LLC, DuPont de Nemours,
                                 Inc., Corteva, Inc., and E.I. DuPont de Nemours and
                                 Company n/k/a EIDP, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed

with this Court’s CM/ECF on this 14th day of September, 2023 and was thus served

electronically upon counsel of record.

                                                     /s/ Molly H. Craig
                                                     Molly H. Craig




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